            Case 2:08-cr-00392-GEB Document 314 Filed 07/08/10 Page 1 of 3


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7
8                     IN THE UNITED STATES DISTRICT COURT
9                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                ) No. 2:08-00392
                                              )
12              Plaintiff,                    )
                                              )
13         v.                                 ) MOTION TO DISMISS REMAINING
                                              ) COUNTS IN INDICTMENT
14   SARAH LANCASTER,                         ) and [PROPOSED] ORDER
                                              ) DISMISSING REMAINING COUNTS
15               Defendant.                   ) IN INDICTMENT
                                              )
16
17         Pursuant to Rule 48(a) of the Federal Rules of Criminal
18   Procedure, Plaintiff, United States of America, by and through
19   its undersigned attorney, asks the Court to file an order
20   dismissing the remaining counts in the indictment against
21   defendant Sarah Lancaster in CR. No. 2:08-CR-00392 GEB.
22         On April 3, 2009, the defendant pleaded guilty to a
23   Superceding Information.      On July 2, 2010, the Court sentenced
24   the defendant to 30 months imprisonment.         The United States makes
25   ///
26   ///
27   ///
28   ///

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           Case 2:08-cr-00392-GEB Document 314 Filed 07/08/10 Page 2 of 3


1    this motion in accordance with its obligations under the plea
2    agreement with the defendant in this case.
3    Date: July 7, 2010                   Respectfully submitted,
4                                         BENJAMIN B. WAGNER
5                                         United States Attorney

6                                   By:
7                                         MICHAEL M. BECKWITH
                                          Assistant U.S. Attorney
8                                         Attorneys for the Plaintiff
9                                         UNITED STATES OF AMERICA

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7
8                       IN THE UNITED STATES DISTRICT COURT
9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,        )           CR. No. S-08-392 GEB
                                      )
12                   Plaintiff,       )
                                      )           ORDER GRANTING GOVERNMENT’S
13                v.                  )           MOTION TO DISMISS REMAINING
                                      )           COUNTS IN INDICTMENT
14   SARAH LANCASTER,                 )
                                      )
15                    Defendant.      )
     _________________________________)
16
17                                        ORDER
18        For the reasons set forth in the motion to dismiss filed by
19   the United States, IT IS HEREBY ORDERED that:
20        The remaining counts in the Indictment in Case No. CR-S-08-
21   392 GEB as to defendant SARAH LANCASTER are hereby DISMISSED
22   pursuant to Federal Rule of Criminal Procedure 48(a) without
23   prejudice.
24   Dated:     July 7, 2010
25
26                                     GARLAND E. BURRELL, JR.
27                                     United States District Judge

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